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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 NORMAN WANG,                                      Civil Action No. 2:20-cv-1952

                        Plaintiff,

                 v.
                                                   Filed Electronically
 UNIVERSITY OF PITTSBURGH,
 UNIVERSITY OF PITTSBURGH MEDICAL
 CENTER, UNIVERSITY OF PITTSBURGH
 PHYSICIANS, AMERICAN HEART
 ASSOCIATION, INC., WILEY PERIODICALS,
 INC., SAMIR SABA, MARK GLADWIN,
 KATHRYN BERLACHER, MARC SIMON
 and JOHN DOES 1-10,

                       Defendants.


                MOTION TO WITHDRAW APPEARANCES FOR MARC SIMON

       AND NOW, comes one of the defendants, Marc Simon, by and through his attorneys,

Dickie, McCamey & Chilcote, P.C., John C. Conti, Esquire, Jeffrey J. Wetzel, Esquire and Steven

L. Ettinger, Esquire, and files the within Motion to Withdraw Appearances for Marc Simon

and, in support thereof, aver as follows

       1.       The undersigned counsel, Dickie, McCamey and Chilcote, P.C., John C. Conti,

Esquire, Jeffrey J. Wetzel, Esquire, and Steven L. Ettinger, Esquire, were retained to represent

two of the defendants, the American Heart Association, Inc., and Marc Simon, M.D., in the

instant litigation.

       2.       Appearances for the undersigned counsel were entered on behalf of the

American Heart Association on January 19, 2021. Appearances were entered on behalf of

Marc Simon, M.D., on February 4, 2021.
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       3.       Attorney Robert Ridge and Attorney Bryon Chowka recently entered their

Appearances for Marc Simon, M.D.

       4.       The undersigned counsel will continue to represent the American Heart

Association, Inc., in this matter.

       5.       The withdrawal of undersigned counsel from the representation of Marc

Simon, M.D., will not cause undue delay or prejudice.

       6.       Accordingly, the undersigned counsel request that their appearances be

withdrawn for defendant, Marc Simon, M.D., only

       WHEREFORE, it is respectfully requested that this Honorable Court enter an order

withdrawing the appearances of John C. Conti, Esquire, Jeffrey J. Wetzel, Esquire and Steven

L. Ettinger, Esquire on behalf of Marc Simon, M.D.


                                                     DICKIE, McCAMEY & CHILCOTE, P.C.


                                                     By: ___/s/ Steven L. Ettinger____________
                                                            John C. Conti
                                                            Jeffrey J. Wetzel
                                                            Steven L. Ettinger

                                                     Attorneys for Defendant,
                                                     Marc Simon




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                                CERTIFICATE OF SERVICE

        I, Steven L. Ettinger, Esquire, hereby certify that a true and correct copy of the

foregoing Motion to Withdraw Appearance for Marc Simon has been served this 26th day of

February, 2021, to all counsel of record via ECF.




                                                    DICKIE, McCAMEY & CHILCOTE, P.C.


                                                    By: ___/s/ Steven L. Ettinger_____________
                                                           Steven L. Ettinger

                                                    Attorneys for Defendant,
                                                    Marc Simon, M.D.

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